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UNITED STATES DISTRICT COURT

 

DISTRICT OF CONNECTICUT
MELITA WILLOUGHBY NO. 3:14CV608 (XH)
PLAINTIFF
Vv.
YALE UNIVERSITY
MAY 18, 2016
DEFENDANT

 

SECOND AMENDED JOINT TRIAL MANAGEMENT REPORT
1. TRIAL COUNSEL:

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Rose Longo-McLean
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2. JURISDICTION:

The basis for the court's subject matter jurisdiction is Sections 1331 and 1343(3) of
Title 28 and Section 2000¢ of Title 42 of the United States Code.

3. JURY/N ON-JURY:

uy. |

4. LENGTH OF TRIAL:

5 days.

5. FURTHER PROCEEDINGS:
None.

6, NATURE OF CASE:

a. all parties and all claims alleged in the complaint, being sure to specify
who asserts which claim(s) against whom;

The plaintiff, Melita Willoughby, claims that the defendant, Yale University,
terminated her employment in retaliation for her complaints of gender discrimination in
violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 200¢e, et seq... The
plaintiff intends to pursue this single claim at trial.

The defendant intends to prove that the plaintiff did not engage in a protected activity.
Defendant further intends to prove that the plaintiff was terminated not in retaliation for
making complaints of gender discrimination but rather because she had multiple disciplinary
issues during her probationary period.

b. the claims that will be pursued at trial.

The plaintiff, Melita Willoughby, claims that the defendant, Yale University,
terminated. her employment in retaliation for-her complaints of gender discrimination in
violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 200e, et seq. The
plaintiff intends to pursue this single claim at trial.

The defendant intends to prove that the plaintiff did not engage in a protected activity.
Defendant further intends to prove that the plaintiff was terminated not in retaliation for

 
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making complaints of gender discrimination but rather because she had multiple disciplinary
issues during her probationary period.

€. the defenses that will be pursued at trial, specifically noting any special
defenses and to what count they relate.

The defendant intends to prove that the plaintiff did not engage in a protected activity.
Defendant further intends to prove that the plaintiff was terminated not in retaliation for
making complaints of gender discrimination but rather because she had multiple disciplinary
issues during her probationary period.

d. an agreed, brief joint statement of the case that may be read to the jury.

The plaintiff was hired by defendant as a causal employee at Yale University’s
Security Department on October 14, 2008, The plaintiff then applied for and accepted a full
time position in the Security Department as a security officer on September 14, 2010.
defendant on September 14, 2010. The plaintiff was terminated by the defendant Yale
University on December 6, 2010. Ms. Willoughby claims that this occurred as a result of her
complaints concerning hostile work environment at the Security department. The defendant
claims that the plaintiff had multiple disciplinary and performance issues during her 90 day
probationary period.

7. TRIAL BY MAGISTRATE JUDGE:

The plaintiff does not consent to a trial by Magistrate Judge.

8. LIST OF WITNESSES
Plaintiff:
Melita Willoughby, Bethany, CT
She will testify concerning the allegations of the complaint and her damages.
Arthur Willoughby, Bethany, CT

He will testify about plaintiffs damages as a result of her termination from Yale University,

Millicent Bowens, Bethany, CT

 
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She will testify about an incident with Peter Leonardo and the plaintiff during the fall of
2010,

Phil Lanier, Supervisor, Ahold USA

He will testify about plaintiff's work history at Ahold USA prior to her employment with the
defendant.

Michael McNamara

Signal 88 Security

150 Kunihlm Drive, Bldg 4

~ Hollisiton, Massachusetts 01746
774-314-2126

He will testify about plaintiffs work history at Signal 88, a private Security firm with a
contract in New Haven, after the plaintiff left Yale University.

Tom Helland, Yale University, Security Dept.

He will testify concerning his knowledge of the plaintiff's work at Yale University.

Reginald Chavis, Yale University, Security Dept.

He will testify concerning his knowledge of the plaintiff's work at Yale University.
William Abbott, Yale University Dept.

He will testify about his work relationship with the plaintiff and statements by Peter
Leonardo about the plaintiff.

Paul Sarno, Yale University, Transit Dispatch

He will testify about the 9/25/10 transit sign-in issues related to the plaintiff which was
discussed Defendant’s Ex. 18.

Peter Leonard, Yale University, Security officer.

He will testify about his work relationship with the plaintiff and his colleagues in the Security
Department.

Richard Nucci:

 
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Security Supervisor 3
79 Howe Street
New Haven, CT 06511-2106

Mr. Nucci will testify as to the allegations set forth in the plaintiff's complaint and his
investigation of her work activities.

Paul Gallipoli

Security Supervisor

79 Howe Street

New Haven, CT 06511-2106

Mr. Gallipoli will testify as to the allegations set forth in the plaintiff's complaint and his
investigation of her work activities.

Kristen Aibis- Maloney

Senior Human Resources Generalist
221 Whitney Avenue

New Haven, CT 06511-3760 _

Ms. Maloney will testify as to the allegations set forth in the plaintiff's complaint and her
meetings with the plaintiff and other members of the Security Department during the fall of
2010.

Francisco Ortiz
Sorrento, FL 32776

Mr. Ortiz will testify as to the allegations set forth in the plaintiffs complaint.

Dan Killen

Director Security Operations
79 Howe Street —

New Haven, CT 06511-2106

Mr. Killen will testify as to the allegations set forth in the plaintiffs complaint and his
investigation of her work activities.

Daniel Okin, Yale Student (2010)

He will testify about a driving incident while he was a passenger in the plaintiff's transit
vehicle during the evening of 11/19/10. .

 
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Defendant; List of witnesses definitely to be called by defendant.

Richard Nucci

Security Supervisor 3

79 Howe Street |
New Haven, CT 06511-2106

Mr. Nucei will testify as to the allegations set forth in the plaintiff's complaint. Mr, Nucci
will further testify that the plaintiff was terminated while on her probationary period as a
result of poor performance. It is expected that Nucci’s testimony will last approximately 3
hours,

Paul Gallipoli

Security Supervisor

79 Tlowe Street

New Haven, CT 06511-2106

Mr. Gallipoli will testify as to the allegations set forth in the plaintiff's complaint. Mr.
Gallipoli will further testify that the plaintiff was terminated while on her probationary period
as a result of poor performance. It is expected that Mr. Gallipoli’s testimony will last
approximately 3 hours.

Kristen Albis-Maloney

Senior Human Resources Generalist
221 Whitney Avenue

New Haven, CT 06511-3760

Ms. Maloney will testify as to the allegations set forth in the plaintiffs complaint. Ms.
Maloney will further testify that the plaintiff was terminated while on her probationary period
as a result of poor performance. It is expected that Ms. Maloney’s testimony will last
approximately 3 hours.

Francisco Ortiz
Sorrento, FL 32776

Mr. Ortiz. will testify as to the allegations set forth in the plaintiffs complaint. Mr. Ortiz will
further testify that the plaintiff was terminated while on her probationary period as a result of
poor performance. It is expected that Mr. Ortiz’s testimony will last approximately 3 hours.

 
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Daniel Killen

Director Security Operations
79 Howe Street

New Haven, CT 06511-2106

Mt. Killen will testify as to the allegations set forth in the plaintiff's complaint. Mr. Killen
will further testify that the plaintiff was terminated while on her probationary period as a
result of poor performance. It is expected that Mr. Killen’s testimony will last approximately .
3 hours.

Witnesses who may be called by defendant

Manuel Rivera

Transit Dispatcher

79 Howe Street

New Haven, CT 06511-2106

Mr. Rivera will respond to plaintiff's allegations that he was rude or inappropriate to her over
dispatch and/or was purposely sending her to incorrect addresses. Mr. Rivera will deny the
plaintiff's claims. It is expected that Mr. Rivera’s testimony will last approximately 3 hours.

Reginald Chavis
Security Supervisor 3
79 Howe Street
‘New Haven, CT 06511-2106

Mr. Chavis will testify as to the allegations set forth in the plaintiffs complaint. Mr. Chavis
will further testify that-the plaintiff was terminated while on her probationary period as a
result of poor performance. It is expected that Mr. Killen’s testimony will last approximately
3 hours.

9, DEPOSITION TESTIMONY:

No witness is expected to testify by deposition.

10. INTERROGATORIES/REQUESTS TO ADMIT:

N/A.

11. EXHIBITS:

 
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The defendant intends to object to the following exhibits: 13,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

# Document

I Yale University Pay Stud- October 8, 2008 :

2 Certification of Completion, International Police Mountain Bike Association Training Course, July 9, 2009

3 Personnel File letters of thanks to plaintiff for her service ¢ October 2008, May 2009, June 2010

4 Yale university Notice of Employment dated September 14, 2010

5 Email string dated October 1 through 3, 2010 RE: Radio dispatch issues

6 Email dated October 6, 2010 from Richard Nucci to Daniel Killen and Francisco Ortiz

7 Email dated October 29, 210 from Paul Gallipoli to Kristen Albis (Maloney) and Richard Nucci

8 Connecticut Police Accident Report dated November 12, 2010

9 Plaintiffs Statement dated November 12, 2010

10 | Email dated November 20, 2010 from Paul Gallipoli to Ortiz, Killen, Albis Maloney RE: Dri iving complaint

11 Emaii dated November 30, 2010 from Paul Gallipoli to Killen Re: Follow up to Willoughby transit
complaint

12 Letter dated December 6, 2010 from Francisco Ortiz. to plaintiff terminating her employment with Yale

13. | Ahold USA’s 2007 and 2008 evaluation of plaintiff as store detective by Edward McGrath, supervisor

14. | W-2 forms 2009-2015

15 Tax return 2011

16 | Email between Paul Gallipoli/ Daniel Killen/ Francisco Ortiz/Rick Maffel dated September 25, 2010
regarding a complaint about Melita Willoughby from a student of rade and unprofessional behavior

17 | Kristen Albis handwritten notes from meeting with Richard Nucci regarding issues with Melita Willoughby
on October 7, 2010

18 | Email between Richard Nucci/ Kristen Albis/ Danie! Killen/ Francisco Ortiz dated October 8, 2010 |
regarding continuing conflict between Melita Willoughby and Pete Leonardo

19 | Email between Paul Gallipoli/ Kristen Albis/ Richard Nucci dated October 28, 2010 regarding issues Melita
Willoughby had with Pete Leonardo/ Manny Rivera

20 | Yale University Memorandum from Richard Nucci to Daniel Killen dated November 9, 2010 regarding
several negative situations during the probation period of Melita Willoughby

21 Yale University Memorandum from Daniel Killen to File dated November 9, 2010 regarding the work
performance of Melita Willoughby

22 | Yale University Memorandum from Richard Nucci to Meilta Willoughby dated November 1 1, 2010
regarding concerns and future expectations

23 Yale University Memorandum from Richard Nucci to Pete Leonardo dated Noveinber 11, 2010 regarding
concerns and future expectations

24 | Email between Richard Nucci/ Daniel Killen/ Kristen Albis dated November 11, 2010 regarding threatening
comments by Melita Willoughby

25 | Kristen Albis handwritten notes from meeting with Richard Nucci regarding concerns about Melita
Willoughby and comments made by her

26 | Yale University Risk Management Notice of Loss November 12, 2010 regarding Willoughby’s vehicle
making contact with a parked vehicle

27 | Email between Blanche Temple/ Francisco Ortiz/ Kristen Albis dated December 1, 2010 regarding Melita
Willoughby listening to music on ear phones while on duty

28 | Email from Richard Nucci to Daniel Killen dated December 7, 2010 regarding Melita Willoughby’s rude

 

 

 
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and confrontational behavior with a Dean

 

 

 

 

 

 

 

 

 

 

 

 

 

29 | Email between Kristen Albis/ Francisco Ortiz/ Daniel Killen dated December 14, 2010 regarding no
evidence of wrong doing after review of all audio tapes between Melita Willoughby and dispatch

30 _| Pertinent portions of Yale University Policies and Procedures addressing probationary period

31 Unemployment 1099 from 2010

32 | Tax return from 2012

33 Tax return from 2014

35 | Tax return from 2015 -

34 Signal 88 Screenshot of 2014 Gross wages

36 | Yale Unemployment summary

37 | Audio recording to Dispatch Re: Complaint regarding Melita Willoughby’s driving

38 | Melita Willoughby Affidavit to CHRO dated May 24, 2011

39 | Complaint filed in United States District Court dated May 5, 2014

40 | Email between Melita Willoughby and Janet Lindner dated December 15, 2010 regarding termination

 

questions

 

12. ANTICIPATED EVIDENTIARY PROBLEMS:
None.

13. MOTIONS IN LEMINE:

N/A.

14, GLOSSARY:

N/A,

15. TRIAL TO COURT/JURY:

A. A written stipulation of uncontroverted facts

1. The plaintiff was hired by the defendant as a casual employee on October 14,
2008.

2. Defendant hired plaintiff into a full-time position on September 14, 201 0.

3. ‘The plaintiff was terminated on December 6, 2010 during her probartionary
period.

4, The plaintiff is not seeking any lost wages beyoOnd May 21, 2015

 

 
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5. The lost wages which plaintiff claims total $89,293.00.

B. An agreed statement of the contested issues of fact and law.
b. | Jury:
(1) Proposed Voir Dire Questions: See Exhibit A attached hereto.
(2) Proposed Jury Instructions: See Exhibit B attached hereto.

(3) ~—- Jury Interrogatories: See Exhibit C attached hereto.

16. MANDATORY NOTICE RE: USE OF ELECTRONIC EQUIPMENT IN
COURTROOM:

Depending on the testimony of defendant’s witnesses, the plaintiff may need to use
electronic equipment to play portions of their testimony at the Commission on Human Rights
and Opportunities fact-finding hearing.

Defendant will require a CD or MP3 player to play portions of a call from a member
of the public pertaining plaintiff's reckless driving.

PLAINTIFF MELITA WILLOUGHBY

BY: /sf
John R. Williams
Katrena Engstrom
Rose Longo-McLean
Joseph M. Merly
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DEFENDANT
YALE UNIVERSITY

By: /s/ ct18777
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CERTIFICATION

I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by email to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.

/s/ (ct18777)
Brock T. Dubin

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